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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    PATRICK CALHOUN, et al.,                            Case No. 20-cv-05146-YGR (SVK)
                                   8                   Plaintiffs,
                                                                                            ORDER RE PLAINTIFFS'
                                   9            v.                                          ADMINISTRATIVE MOTION TO SET
                                                                                            BRIEFING SCHEDULE FOR
                                  10    GOOGLE LLC,                                         OUTSTANDING DISCOVERY
                                                                                            DISPUTES
                                  11                   Defendant.
                                                                                            Re: Dkt. No. 673
                                  12
Northern District of California
 United States District Court




                                  13
                                              The Court is in receipt of Plaintiffs’ administrative motion to set a briefing schedule for
                                  14
                                       outstanding discovery disputes. Dkt. 673. Discovery in this matter closed on March 4, 2022, and
                                  15
                                       the last day to bring discovery motions was March 11, 2022. Civ. L.R. 37-3. No later than
                                  16
                                       NOON on May 27, 2022 Plaintiffs are to submit a supplemental administrative request not to
                                  17
                                       exceed 3 pages that sets forth the basis for bringing fact discovery disputes at this late date. The
                                  18
                                       supplemental request must also enumerate the disputes, as a proposed briefing schedule that fails
                                  19
                                       to identify the number of issues is meaningless. Defendant’s response to both Dkt. 673 and the
                                  20
                                       supplemental request, not to exceed 5 pages, shall be due May 31, 2022.
                                  21
                                              SO ORDERED.
                                  22
                                       Dated: May 26, 2022
                                  23

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                                  25                                                                 SUSAN VAN KEULEN
                                                                                                     United States Magistrate Judge
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